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Attorney for Plaintiff

IN THE UNITED STATES DISTR_ICT COURT
FOR THE DISTRICT OF IDAHO

DOUGLAS LARSON

Case No.:
Plaintiff,

vs. COMPLAINT

LIFE lNSURANCE COMPANY OF
NORTH AMERICA,

Defendant.

 

 

COl\/IES NOW, the above-named Plaintiff, Douglas Larson, by and through his attorney,

J ames C. Amold, of PETERSEN, PARKINSON & ARNOLD, PLLC, and for his claim against
the Defendant complains and alleges as folloWs'.

1. Plaintiff is a natural person residing in the State of ldaho and at all times relevant hereto

Was employed by ITG ldaho Treatment LLC, Group LLC, and was a participant in a

Group Universal Life lnsurance Policy No. GUM-104940 (Tlie Plan) underwritten by

Life Insurance Company of Nor'th America and administered by Cigna.

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2. Plaintif`f made a claim identified as lncident Number: 3641 lO§ under The Plan in
accordance with the Life lnsurance provisions of The Plan.

3. This is an action brought under ERISA, 29 U.S.C. §lOOl ez‘seq. This Court has
jurisdiction over this cause of action pursuant to 29 U.S.C. §ll32(a)(l). Venue is
appropriate under 29 U.S.C. §l l32(e)(2).

4. The remedies the Plaintiff` seeks in this action under the terms of ERISA and under
the terms of the Plan are for benefits due pursuant to 29 U.S.C. §1132(a)(l)(B), for an
award of prejudgment interest, and for an award of` attorney fees and costs under 29
U.S.C.§l l32(g).

5. Plaintiff made application for Long Term Disability benefits under The Plan and was
determined to be disabled and eligible for benefits under The Plan. Defendant began
paying benefits under the Plan beginning September 29, 2015, and related eligibility
back to March 13, 2015.

6. The factual bases for Plaintiff’S claim f`or Waiver of Premium (WOP) benefits, in
addition to his Long Term Disability, is that he suffered and continues to suffer from
low back pain7 post laminectomy syndrome, and hypertension, which rendered and
continue to render him disabled

7. The Waiver of` Premium provision Within the policy states that an employee must be
disabled for 9 straight months before being eligible for Waiver of Premium.
Continuing coverage during the Waiver Waiting Period, the policy under which he is
insured, contains the following provision:

Extendea’ Deafh Benej"zf

 

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lf an Emplayee becomes Disablecl ana' is less than age 60, the Life fnsia'ance Benefirs

shown in the Scl'ieclale OfBenefiis will be extended without premium payment until the

earlier cf the following claies.'

l. The date the Empioyee is no longer Disablea'.

2. The date the Einployee fails to qaalijj/for Waiver OfPremiani or fails to provide
proof of Disabiliiy as indicated under Waiver ofPreminni.

8. Plaintiff was born in 1959 and was under age 60 at the time he became disabled

9. On December 3, 2015 Defendant sent Plaintif`f a letter acknowledging receipt of his
Waiver of Premium referral on his Life Insurance coverage under The Plan. The letter
indicated that the referral was made because Plaintiff qualified for Long Term
Disability (LTD) coverage under The Plan.

10. On January 11, 2016, Defendant sent Plaintif`f a letter acknowledging his claim for
Waiver of Premium benefits Defendant stated that it had conducted an initial review
but was unable to make a determination at that time. Defendant requested further
medical documentationl Plaintiff called his medical provider’s office several times to
follow up on Defendant’s letter and ensure the requested information was sent to
Defendant.

11. On February 2, 2016, Defendant sent Plaintiff a letter advising that Defendant was in
the process of reviewing Plaintiff`s claim.

12. On February 11, 2016 Defendant Sent Plaintiff a letter denying his claim. Defendant
stated that Plaintiff’s claim had been reviewed by a Nurse Case Manager, Associate
Medical Director, Vocational Rehabilitation Specialist, and Waiver Specialist.
Defendant alleged that Plaintiff could work within his restrictions as either an

“Information Clerk” or “Gate Guard” and that based on that determination, “we are

unable to consider you disabled at this time.” The letter also contained information on

 

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the appeal process and advised Plaintiffthat, pursuant to ERISA, he was required to go
through Defendant’s administrative appeal process prior to pursuing legal action. The
letter advised Plaintiff that he must submit an appeal within 180 days of receipt of
Defendant’s letter. Plaintiff received Defendant’s letter via USPS on February 17,
2016. The letter was signed by an employee identified as “Doris O.” Plaintiff made
several follow up phone calls to “Doris O.” to inquire about Defendant’s determination

13. AS instructed by Defendant, Plaintiff timely appealed and requested a review of
determinations denying Plaintiff’ s entitlement to Waiver of Premium benefits Plaintiff
appealed by letter, which he mailed on l\/larch 3, 2016.

14. On l\/larch 9, 2016 Defendant continued receipt by letter of Plaintist appeal of his
Waiver of Premium and Waiver of Cost claim under The Plan. Defendant indicated
that Plaintiff’s claim was being reviewed by the Disability Review Team and that an
employee would contact Plaintiff within 15 days.

15. On March 16, 2016 Defendant informed Plaintiff by letter that Defendant would
proceed with the appeal review of Plaintiff’s claim. Defendant confirmed that all
information needed for the appeal had been received and that Defendant would conduct
a peer review of the original claim decision by a healthcare professional with
appropriate training and experience

l6. Defendant sent Plaintiff two separate letters on April 14, 2016. ln one letter, Defendant
informed Plaintiff that it was in the process of reviewing Plaintiff’ s claim with a
medical professional to determine Plaintiff’s functional ability. Defendant further
stated that a determination would be made as soon as possible ln the other letter,

Defendant enclosed a form entitled “Disability Questionnaire” and requested that

 

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Plaintiff complete the form and return it to Defendant. Plaintiff received the Disability
Questionnaire on April 21, 2016 and mailed it back to Defendant on l\/lay 5, 2016`

17. On April 25, 2016, Defendant Wrote Plaintiff a letter advising of the outcome of its
appeal review. Defendant indicated that it decided to uphold its prior decision to deny
Plaintiff’s claim. Defendant stated that a medical doctor had reviewed Plaintiff" s claim
file and identified restrictions which Plaintiff would have going forward from
September 13, 2015. Defendant stated that that a vocational counselor, who was
unidentified, reviewed Plaintist restrictions and conducted a transferrable skills
analysis Defendant alleged that Plaintiff could work in two occupations with his
restrictions, as an “lnformation Clerk” or a “Gate Guard.” Based on this allegation,
Defendant contended that Plaintiff did not meet the policy’s definition of “Disahility,”
and kept his claim in closed status. Defendant informed Plaintiff that a second appeal
request was not required, and he had the right to bring legal action pursuant to ERISA.

18. Plaintiff received Defendant’s April 25, 2016 letter on May 3, 2016 and followed up
with several telephone calls to Defendant’s offices. On May 16, 2016, Plaintiff called
and left a message requesting the vocational and medical review written findings and
the names of the doctor and vocational counselor who conducted the reviews

19. On May 26, 2016, after receiving no response, Plaintiff called Defendant’s office again.
Plaintiff received the voicemail of Linda Gump, the signer of the April 25, 2016 letter.
l\/ls. Gump’s voicemail indicated that she was out of the office for an indeterminate
amount of time.

20. On June 7, 2016, Plaintiff was still awaiting a response and called Ms. Gump again.

He received voicemail again indicating that l\/[s. Gump was out of the office Plaintiff

 

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spoke with an individual named “Danna” who informed him that he needed to submit
a request to obtain the vocational and medical reports

21. On June 16, 2016, pursuant t0 “Danna’s” instructions7 Plaintiff sent a letter to
Defendant via certified mail requesting the vocational and medical reports

22. On November 4, 2016 Defendant sent Plaintiff a letter stating that it acknowledged
Plaintiff’s appeal and that the appeal would be handled by Welser Maltez, from the
Disability Appeals Team. The letter was signed by Welser l\/laltez, who identified
himself as the “Disability Claim l\/lanager.”

23. On Decernber 27', 2016, Plaintiff received the final denial of the appeal for Waiver of
Premium benefits The letter stated that Plaintiff had exhausted all levels of
administrative appeals and that no further appeals would be considered

24. Plaintiff claims in this action that there was and is no credible evidence upon which
Defendant could or can rely that the evidence did not support his claim for Waiver of
Cost and Waiver of Premium benefits on his Group Universal Life lnsurance.

25. On l\/lay 24, 2017 Defendant wrote Plaintiff a letter regarding his Long Term Disability
(LTD) benefits Plaintiff received Defendant’s letter six days later, on May 30, 2017.
Defendant informed Plaintiff that it had evaluated Plaintiff`s disability status after
September 9, 2017, which Defendant indicated was the date the definition of
“disability” changed under The Plan.

26. According to Defendant’s May 24, 2017 letter, after September 9, 2017, in order to
qualify as “disabled" for purposes of receiving LTD benefits, Plaintiff had to be unable
to perform the material duties of any occupation which he was qualified for, and unable

to earn 80% or more of his indexed eamings from working in his regular occupation

 

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27. Defendant’s letter stated that it conducted an internal review of Plaintiff’s file. Part of
the review consisted of a review by medical staff, who concluded that Plaintiff could
perform constant sitting, frequent reaching, grabbing, and fine manipulation as well as
occasional standing, walking, and liftipull/carry up to 10 pounds Defendant then
referred Plaintiff’ s claim to its vocational department for a Transferable Skills
Analysis. Defendant alleged that it identified two occupations which Defendant
thought Plaintiff should be able to perform based his work capacity, restrictions and
limitations as well as employment and educational history. Defendant concluded that
because it identified two occupations Plaintiff was not disabled Defendant closed
Plaintiff’ s claim and ceased payment of LTD payments as of September 8, 2017.

28. Following receipt of Defendant’s May 25, 2017 denial letter regarding his LTD
benefits, Plaintiff appealed

29. A Functional Capacity Evaluation was performed by Nathan Hunsaker, DPT, on
August 25, 2017'. l\/lr. Hunsaker determined that Plaintiff had the following work
restrictions: standing/walking limited to occasional, defined as one third of the work
day; sitting restricted to seldom, defined as one hour or less; exertion on an occasional
basis of 10 to 20 pounds; and bending/stooping restricted to seldom. The Functional
Capacity Evaluation further found that Plaintiff' s medical condition required him to lie
down periodically for pain relief and that could not be accommodated during regular
work breaksl The Functional Capacity Evaluation also found that Plaintiff was unable
to sit for more than 10 minutes at a time. Mr. Hunsaker opined that Plaintiff was unable

to work an S-hour day, 5 days per week.

 

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30. The Functional Capacity Evaluation was reviewed by Dr. Jason Poston and Ryan
Williams, PA-C, of Pain and Spine Specialists of Idaho, who agreed with the findings
by letter dated September 6, 2017.

31. Dr. Brandon Kelly, of Idaho Neurology and Spine, opined that full time employment
was not possible for Plaintiff due to his chronic, extensive spine pathology in his chart
notes from Plaintiff"s visit on September 13, 2017.

32. On November 15, 2017 Delyn Porter, a vocational rehabilitation counselor, conducted
a vocational assessment of Plaintiff. Mr. Porter concluded that Plaintiff was
unemployable in any competitive work environment and that he was functioning at a
“below sedentary” physical demand work capacity.

33. On December 13, 2017 Defendant wrote Plaintiff’s counsel a letter confirming its
receipt of Plaintiff"s appeal of the denial of his LTD claim. Defendant confirmed that
it had been provided with the Functional Capacity and Vocational Evaluations, the
opinions of Drs. Poston and Kelly, and Plaintiff s video deposition While confirming
receipt of the appeal materials Defendant noted that “[n]o new medical exam findings
or diagnostic testing results are provided to change prior recommendations” since its
prior denial.

34. On February 21, 2018 Defendant contacted Plaintiff by letter addressed to his counsel
and indicated that it was upholding its decision to deny his claim for LTD benefits
under the Plan. The letter was signed by Appeals Claim Specialist “Krizia E.”

35. Following receipt of Defendant’s February 21, 2018 letter, Plaintiff contacted Appeals

Claim Specialist “Krizia E.” and requested documentation used by Defendant in its

 

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review, including any notes or reports written by the physician who reviewed Plaintiff' s
claim. Defendant followed up by fax and provided information to Plaintiff

36. On August 15, 2018 Plaintiff sent a letter by overnight mail addressed to “Krizia E.”
and indicated that he was submitting a second appeal of Defendant’s denial of
Plaintiff’s LTD benefits beyond September 8, 2017. In support, Plaintiff supplemented
additional medical records for care which had been obtained since the first appeal and
noted that Plaintiff"s physical condition had not changed since September 8, 2017 and
he remained unable to work on a reliable basis 8 hours a day, 5 days per Week. Plaintiff
also submitted records from a new medical provider, showing Plaintiff had limitations
on the use of his hand

37. Defendant confirmed receipt of Plaintiff s second appeal and indicated that it was being
referred to its Disability Appeals Team.

38. On October 17, 2018, Defendant overturned its prior decision and determined that
Plaintiff was entitled to LTD benefits

39. On October 31, 2018 Defendant’s Disability Claim Manager, “Miriam M.” contacted
Plaintiff to indicate that Plaintiff’ s LTD claim Was re-opened and ongoing LTD
benefits had been approved Defendant issued a check for retroactive LTD benefits,
dating back to September 9, 2017.

40. In determining that Plaintiff was eligible for LTD benefits Defendant reversed its prior
determination with respect to Plaintiff’s disability status and found that Plaintiff met
the definition of “disabled,” and that he was disabled and entitled to benefits beyond

September 8, 2017.

 

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41. Plaintiff’s LTD coverage and WOP coverage are both underwritten by Life lnsurance
Company of North America and administered through Cigna.

42. Defendant has made representations to Plaintiff as to what qualifies as “disabled" for
purposes of receiving LTD benefits and WOP benefits

43. For purposes of entitlement to LTD coverage beyond September 8, 2017, Plaintiff is
“disabled” if he is unable to perform the material duties of any occupation which he
was qualified for, and unable to earn 80% or more of his indexed earnings from working
in his regular occupation Defendant has determined that Plaintiff qualifies as
“disabled” under this definition.

44. For the purposes of entitlement to WOP coverage, Defendant uses an identical
definition of “disa‘oled.”

45. Defendant set forth the definition of “disabled” for WOP coverage beyond the initial
Waiver Waiting Period in its December 3, 2015 letter to Plaintiff.

46. For purposes of entitlement to WOP coverage beyond the initial Waiver Waiting
Peiiod, Plaintiff is “disabled” if he is unable to perform the material duties of any
occupation he might become qualified for. Despite this being a nearly identical
dehnition, Defendant has determined that Plaintiff does not qualify as “disabled” under
this definition.

47. Defendant’s internal reviews ofPlaintiff`s entitlement to LTD and WOP coverage both
included review of Dr. Kelly’s medical records of Plaintiff.

48. ln determining Plaintiff"S entitlement to WOP benefits, based on its review of Dr.
Kelly’s medical records, Defendant concluded that Plaintiff could occasionally sit,

stand, walk, reach overhead, grasp finnly, and exert force of up to 10 pounds

 

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Defendant concluded that Plaintiff could frequently manipulate, do simple grasping, or
reach at desk level. Defendant informed Plaintiff of this conclusion by letter on
February 11, 2016.

49.111 determining Plaintiff`s entitlement to LTD benefits, based on its review of Dr.
Kelly’s medical records, Defendant concluded that Plaintiff was capable of performing
constant sitting, frequent reaching, grasping and fine manipulation, as well as
occasional standing, walking, and lift/push/pull/carry up to 10 pounds Defendant
informed Plaintiff of this conclusion by letter on l\/lay 24, 2017.

50. ln determining Plaintiff’s entitlement to WOP benefits based on the restrictions it
concluded Plaintiff had from Dr. Kelly’s medical records, Defendant conducted a
Transferable Skills Analysis through its vocational department

51. In determining Plaintiff’s entitlement to LTD benefits, based on the restrictions it
concluded Plaintiff had from Dr. Kelly’s medical records, Defendant conducted a
Transferable Skills Analysis through its vocational department

52. ln determining Plaintiffs entitlement to WOP benefits Defendant’s Transferrable
Skills Analysis identified two occupations it alleged Plaintiff could perform.

53. ln determining Plaintiff’s entitlement to LTD benefits, Defendant’s Transferrable
Skills Analysis identified two occupations it alleged Plaintiff could perform.

54.1n determining PlaintifPs entitlement to WOP benefits, Defendant concluded that,
“[s]ince appropriate job opportunities have been identified that meet your skill set and
are within your restrictions and limitation given by your provider, we are unable to

consider you disabled at this time.”

 

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55. ln determining Plaintiff S entitlement to LTD benefits Defendant initially concluded
tlrat, “[s]ince appropriate job opportunities have been identified, we are unable to
consider you disabled at this time.” Defendant later reversed this determination
through the appeal process

56. By its reversal of the denial of Plaintiffs LTD benefits Defendant found Plaintiff was
unable to perform the material duties of any occupation he qualified for.

57. Plaintiff`s entitlement to LTD benefits was fully adjudicated through the Defendant’s
appeal process As part of that process Plaintiff was found to be disabled The issue
of Plaintiff"s disability was adjudicated to finality, with Defendant ultimately finding
Plaintiff met the definition of “disabled” and was entitled to LTD benefits

58. Defendant should be estopped from advancing a position with respect to Plaintiff" s
entitlement to WOP benefits which is blatantly at odds with the position it advanced
with respect to Plaintiff’ s entitlement to LTD benefits Specifically, using a nearly
identical definition of “disabled” and nearly identical record, Defendant inexplicably
concluded that Plaintiff is entitled to LTD benefits but not to WOP benefits

59. Based upon Defendant’s own review process there is no good evidence which supports

its conclusion that Plaintiff is not disabled for the purposes of entitlement to WOP.

60. The failure and refusal of Defendant to approve the Waiver of Premium benefits to
which Plaintiff is entitled under the Plan is a breach of the terms of the Plan and
violation of ERISA.

61. The failure and refusal of Defendant to approve the Waiver of Premium benefits
claimed by Plaintiff has caused damage in an amount equal to the past and future

benefits he was and is entitled to under the Plan.

 

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62. In addition to the benefits to which he is entitled under the Plan, Plaintiff is entitled to
attorney fees and costs incurred pursuant to 29 U.S.C. §1132(g) and pre and post-
judgment interest to the date of payment and the unpaid benefits
WHEREFORE, Plaintiff prays for relief and judgment against Defendants as follows:

l. For the benefits to which he is entitled under the Plan together with attorney fees and
costs incurred pursuant to 29 U.S.C. §l 132(g) and pre and post-judgment interest to
the date of payment and the unpaid benefits and

2. F or such other and further relief as this Court may deem just and equitable

DATED Wle 525/l ,2019.

PETERSEN, PARKINSON & ARNOLD, PLLC

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